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     IN TH E UNITED STATES D ISTRICT C O UR T FO R TH E SO UTH ER N
          D ISTRIC T O F FLO RIDA W EST PALM BEA CH DIVISIO N

                                 CA SE N O .12-80364-C IV -M A              ON
                                                             FILED hy      D.C.
 JOHN KORM AN                         )
Private A ttorney G eneral,           )                  ALC 15 2012 I
                          Petitioner, )                  st'
                                                           rt
                                                          s.
                                                            v-plrsswtv #
                                                            o.oh-F. .-w.pa, j
               v.                     )
                                      ) CIVR RIGHTS1983VIOLATION
AURORA LOAN SERVICES LLC;             )          FORGERY
OFFICE OF CEO,AND PRES OF AUROM ;)                 USURY
AURORA BANK FSB;                      )      CIVIL CONSPIM CY
M ERSCORP HOLDINGS,INC;               )       STELLIONATION
M ORTGAGE ELECTRONIC                  )       INTRINSIC FM UD
REGISTM TION SYSTEM S INC;            )     ATTEMPTED LARCENY
LEHM AN XS TRUST 2006-119             ) FM UDULENT CONVERSION
LASALLE BANK N.A.asTRUSTEE;           )    CONSTRUCTIVE FM UD
U.S.BANCORP assuccessorTRUSTEE;       )    VIOLATION OFFDCPA
ASSOCIATES LAND TITLE INC;            )      VIOM TION OF TCPA
THEODORE SCHULTA lndividual;          )      VIOLATION OF FCM
LAUM M CCANN,lndividualu'              )   VIOLATION OFFDUTPA
CYNTHIA W ALLACE,lndividual;           )         M AllxFRAUD
JOANN REIN,lndividual;                 )         W IRE FM UD
LAW OFFICE OF DAW D J.STERN P.A.; )               UTTERING
DAVID JAM ES STERN,Esquire;            )            R.I.C.O.
KAROL S.PIERCE,Esquire;                ) FRAUDULENT INDUCEMENT
CASSANDM M CINE-RIGAUD,Esquire; )                FALSE CLAIM
M ISTY BARNES,Esquire;                 )       M ORTGAGE FM UD
DARLINE DIETZ,Notary;                  ) PROFESSIONAL NEGIGENCE
JOHN DOE 1- 1009                       )
JANE DOE 1- 100;                       )         DEM AND FOR JURY
                                       )                TRIAL
                           Defendants. )           Fed.R.CiV.P.38(b)
                                             /


  OBJECTION TO DEFENDANTS'LAW OFFICES OF DAVD ASTERN.P.A..DAVID J.
       STERN AND CASSANDM M CINE-RIGAUD'S M OTION TO DISM ISS



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      PetitionerObjectsto DEFENDANTS'LAW OFFICES OF DAVID J.STERN,P.A.,
DAVID J.STERN AND CASSANDRA RACINE-RIGAUD'S M OTION TO DISM ISS,and as

grounds state'
             ,

      ThisAction is in response to a foreclosure Action which was com m enced by the LA W

OFFICES OF DAVID J.STERN,P.A.,representing A URORA LOAN SERVICES LLC,a

Servicer,withoutright,title norinterest,com menced a wrongfulForeclosure.

2.    ln determining whetherto granta Rule 12(b)(6)motion,ora 12(f)motion,the Coud
shallnotdism iss a com plaintifitincludes Henough facts to state a claim forreliefthatis

plausible on its face-''BellAtlantic Com .v.Tw om blv.550 U.S.Q##,570,127 S.Ct.1955,

(2007).The Courtam ustview the complaintin the Iightmostfavorable to theplainti'
and acceptaIIofthe plaint* s well-pl- de facts as t- e-''Am erican United Life lns.

Co.v.Madinez,480 F.3d 1043,1057 (11th Cir.2007).
3.     W hen ruling on a m otion to strike,the Courttakes the plaintifs allegations as true

and m ustIiberally construe the com plaintin a lightm ostfavorable to the plaintiff.See

Jenkins v.McKeithen.395 U.S.411,421 (1969)'
                                          ,s, also Arqabriqhtv.United States,35
F.3d 472,474 (K h Cir.1994).Motionsto strike are disfavored as a ''Imlatterwillnotbe
stricken from a pleading unless itis clearthatitcan have no possible bearing upon

the subjectma/erofthe Iitigation.''W ailuaAssocs.v.Aetna Cas.& Sur.Co.,27 F.
Supp.2d 1211,1216 (D-Haw.1998)
4.     The Suprem e Courthas explained thata com plaintneed only 'give the defendant

fairnotice ofwhatthe plaint- 's claim is and the grounds upon which itrests.'

Swierkiewiczv.Sorem a N.A.,534 U.S.506,512 (2002),
                                                 .accord Atchison.Topeka &
Santa Fe Rv.v.Buell.480 U.S.557,568 n.15 (1987/ FederalRules embody t'notice


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pleading''and require only a concise statem entofthe claim ,ratherthan evidentiaryfacts.

The sim plified notice pleading standard relies on liberaldiscovery rules and sum m ary

judgmentmotionsto define disputed factsand to disposeofunmeritoriousclaims.See
Sw ierkiew icz.534 U.S.at512.
       Defendants,Attorney DAVID J.STERN and Attorney CASSANDRA RACINE-RIGAUD
5.
are professionalswho profess to know the Iaw;who owe a duty as an Officerofthe Coud to

representonly truefacts (presumptivelyl'
                                       ,
6.     Defendants DAVID J.STERN and CASSANDRA RACINE-RIGAUD as Attorneys
know,in a foreclosure Action M O RTGAG E ELECTRO NIC REG ISTRATIO N SYSTEM S INC,

(hereinafter'SMERS'')which isacting inthe capacity as a nomineeforLEHMAN BROTHERS
BANK FSB,Iacks the Iegalcapacity to function as a nom inee /Assignor/Grantorthe
mom entLEHM AN BROTHERS BANK FSB filed forBankruptcy protection,because the
Real-party-in-lnterestis the JudicialTrustee administering the Bankruptestate ofthe debtor.

JudicialTrustee is the only one with Standing to eitherForeclose on Petitioner's Real-Estate,

 orm ay authorize M ERS,ifLEHMAN BROTHERS BANK FSB owned the debt.
 7.     LAW OFFICES O F DAV ID J.STERN,P.A.,DAVID J.STERN and CASSANDRA
 RACINE-RIGAUD DefendantAttom eys know,orshould know a LEHM AN BROTHERS

 BANK FSB Chapter11 filing stays aIIlegalad ivity,withoutthe JudicialTrustee's prior

 approval.
 8.     LAW O FFICES O F DAVID J.STERN,P.A.,DAVID J.STERN and CASSANDRA

 RACINE-RIGAUD have violated FederalIaw,11 U.S.C.11544,the automaticstay,
 considered a contem ptofCourtto proceed with a foreclosure Action while the Lenderis
 underBankruptcy protection,withoutthe JudicialTrustee's priorconsentorknowledge'
                                                                                ,

 furtherm ore,

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9.    Defendants,LAW OFFICES O F DAVID J.STERN,P.A.,DAVID J.STERN and

CASSANDRA RACINE-RIGAUD know M ERS is nota party w ith an interestin Petitioner's

NOTE,oranyone's NOTE,ever,oratIeastnotin a JudicialVenue,howeveritappears

M ERS Assigned Petitioner's NOTE to theirClientAURO RA LOAN SERVICES LLC;see
Petitioner's             ' REQUEST FOR JUDICIAL NOTICE OF ADJUD ICATIVE FACT,

(DE 57),
       .
10. W hen a clientpresents LAW O FFICES O F DAVID J.STERN,P.A.,with a requestto
handle a Foreclosure,itis DAV ID J.STERN and CASSANDRA RACINE-RIGAUD'S
professionalduty to inform the Client,the CORPO RATE ASSIG NM ENT OF M ORTGAGE

does notcomportwith the law,afteralIanAttorneyadvisestheirClientts)on the Iaw.The
Attorney is bringing the case forw ard,representing the Client.The Attorneys know thatan

Assignmentofthe NOTE by M ERS,setoverto theirClientcontemporaneously while the

Lender,LEHMAN BROTHERS BANK FSB is underBankruptcy protection,is an Assignment

which is ineffective;but,thatonly holds true ifitcomes to Iightin a pleading,otherwise the

foreclosure isinfirm,and subjectto future attack,butsuccessfulin this momentin time.
11.    OverNinety-percent-plus ofpeople in foreclosure eitherdo notargue theircase
effectively orabandon theirproperty;pretty good odds foran Attorney in the business of

foreclosure,especially a business whereby the reward strud ure is based on pedormance.

       LAW O FFICES OF DAVID J.STERN,P.A.,filed a Foreclosure Action against
Petitioner13thday ofMay 2009, wherein the Plaintiffand the debtwere alienated'
                                                                             ,

fudherm ore the Plaintiffalleges the M ortgage-NoTE is missing,butpossessed them priorto
the loss.Any reasonable Attorney would be a Iittle suspicious and ask forsome evidence as

to the truth in this matterbefore presenting such a stofy before the BAR;considering,



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13.   LEHMAN BROTHERS etaI.,atone time was one ofthe IargestM arket-M akers in

Mortgage-Backed-securities,securitized everyMortgage-NoTE itcould get(atIeastoncel;
however,LAW OFFICES O F DAVID J.STERN,P.A.,is putting forth the proposition that
Petitioner's NOTE was held by LEHM AN BROTHERS BANK FSB in its ow n portfolio fortwo

years untilthe Foreclosure com m enced,thereafterauthorized M ERS to Assign itto the

Servicer,AURORA LOAN SERVICES LLC,w ithouta shred ofevidenœ to thateffed ;

however,

14.   The Com plaintand the evidence attached thereto is found a copy ofa copy ofa

NOTE which indicates LEHMAN BROTHERS BANK FSB,the originalLendersold its rightto

the prom issory NOTE,'çwithoutrecovrse''.
15.   Itis notuntil365 days Iateran Un-verified Am ended Com plaintcontained an untimely

CO RPO RATE ASSIG NM ENT OF M ORTGAG E,which purpods to assign the M ortgage
togetherwith the NOTE,which is ineffective,even i
                                                fLEHMAN BROTHERS BANK FSB held

the NOTE;see Petitioner's               ' REQUEST FO R JUDICIAL NOTICE O F

ADJUDICATIVE FACT,(DE 57).Both DAVID J.STERN and CASSANDRA RACINE-
RIGAUD know this to be true,orshould know as they are Attom eys.AIIthe case law on this
matterindicate,when this issue is broughtto light,the Assignm entofa NOTE from M ERS is

considered ineffective,notwithstanding a Power-of-Attorney orsimilarauthorization from the

Lender(in thiscase JudicialTrustee),whichwould includethe physicaltransferofthe NOTE
to M ERS acting as Agent,done priorto com m encem ent.
16.    Both DAVID J.STERN and CASSANDRA RACINE-RIGAUD knew the CO RPORATE

ASSIGNM ENT OF M ORTGAG E contained false information which would m isdirectthe Coud
into believing som ething true,which itwas not,and both DAVID J.STERN and

CASSANDRA RACINE-RIGAUD knew the Assignmentwas false,orshould have known,

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presented the CORPORATE ASSIGNM ENT O F M O RTGAGE because 9 outof10 tim esthe
false statem entoffactwillbe accepted as true.ltappears to Petitionerthe attitude ofDAVID

J.STERN and CASSANDRA RACINE-RIGAUD is'
                                      ,afalsehood isjustas good asthe truth i
                                                                            f
the Courtaccepts itas the truth.
       Although both DAVID J.STERN and CASSANDRA RACINE-RIGAUD,and the LAW

OFFICES O F DAVID J.STERN,P.A.,are Attorneys working forthe Firm ,they are debt
collectors.As Third-pady-Debt-collectors,the LAW O FFICES O F DAVID J.STERN,P.A.,

DAVID J.STERN and CASSANDRA RACINE-RIGAUD are responsible fora false collection

claim,underthe FederalFairDebtColledion PracticesAct,15 U.S.C.S.â 1692 etseq,see
Heintzv.Jenkins,514 U.S.291;115 S.Ct.1489,131 L.Ed.2d 395 (1995).
18.    LAW O FFICES O F DAV ID J.STERN,P.A.,etal.,com menced a Foreclosure Action
againstPetitionerrepresenting to representthe Real-party-in-lnterest,who Owned and Held

the NOTE,none ofwhich istrue,confirmed by AURORA LOAN SERVICES LLC'S alternate

Counsel,
       'see Petitioner's Complaint(DE 1,Exhibit''Irand *J*)also see Complaint(DE 1,
ExhibituN'
         ')AURORA LOAN SERVICES LLC admits itisthe Servicer,second paragraph
contained in Exhibit'N'''
                        l
                          ''ASyourm odgageloan sew icerfAvrora Loan Services
LLC )''Exhibit''N''attached to the Complaintisdatedthe 19thday ofOdober2010.
 19.    O n the 13thday ofM ay 2009 AURO RA LOAN SERVICES LLC claim s to be the
 Ownerand Holderofthe NOTE,re-presented by these Attorney Defendants.

 20.   LAW O FFICES O F DAVID J.STERN,P.A.,DAVID J.STERN and CASSANDRA

 RACINE-RIGAUD are debtcollectorscollecting a debtforthe Servicer(pretend Iender),who

 iscollecting the debtforthe Lender(non-party).
 21.    DAV ID J.STERN and CASSANDRA RACINE-RIGAUD knew the averm ents found in
 the Com plaintwere false,and knew this falsity existed atthe time the Com plaintand the

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Amended Complaintis presented'
                             ,need look no fudherthan the fourcorners ofboth versions

ofthe Complaints,w hich the LAW OFFICES OF DAVID J STERN,P.A.created,butthe
                                                               .




ClientAURORA LOAN SERV ICES LLC refused to Verify (Should have sounded the al
                                                           .
                                                                            arm-
beIl.)
22.      LAW OFFICES OF DAVID J.STERN,P.A.,DAVID J.STERN and CASSA NDRA

RACINE-RIGAUD are held Iiable underthe FairDebtColledionsPracticesAct(hereinafter
''FDCPA'')forfalse,deceptive ormisleading representation ormeans in connection withthe
collection ofa debt.The FDCPA violation w as intentional, violation is notan errorbutrathera

m odus operandi.

23.      LAW OFFICES OF DAVID J.STERN,P.A.,DAVID J STERN and CASSANDRA
                                                                   .




RACINE-RIGAUD did representto representAURO RA LOAN SERVICES LLC, which is

admittedlya ''Debt-collector.''See Complaint(DE 1,Exhibitl1N'
                                                            'pg 3 of5,andpg 4 of5,and
pg 5 of5'
        ,HIm po4antNotice ...Aurora Loan Sew ices is a debtcollector. A urora Loan

Services is attempting to collc ta debt...3
24.      LAW O FFICES OF DAVID J.STERN,P.A.,etal-,m aintained upon com mencementof

the Foreclosure in question,Petitionerowed * 50,000.00 to AURORA LOAN SERVICES
LLC,butrefused to validate the debtafterreceiving a written requestto do so, butcontinued

collection efforts,up and untilthe LAW O FFICES O F DAVID J STERN,P.A.,etal.,stepped-
                                                                       .



aside April7thzcjj  .




25. The FDCPA violation initially or.
                                    n lrred upon com m encem entbutwas ongoing and
continued to re-occurdaily up and untiIthe 7thday ofApril2011, therefore the one yearof

Statute ofLim itation had notrun as ofthe filing ofthis instantCom plaint, which is filed on the
5thday ofApril2012'
                  ,fudhermore,




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26. Documents produced in a judicialproceedingwhich arefalse,known to be false or
misleading are subjectto FDCPA Iiability.
       Itshould be clari
                       fied,forthe record'
                                         ,Petitioner's NOTE is NOT a negotiable instrument

upon itsexecution,thereaftersetting oversameto the Bank(LEHMAN BROTHERS BANK
FSB).
28.   Petitioner's NOTE is NOT a negotiable instrumentbecause itis notan unconditional

prom ise to pay,and the amountofmoney owed is notcertain, asthe debt(NOTE)contai
                                                                               nsa
pre-paymentpenalty and otherconditions orevents making the finalamountdue uncedain            .



The NOTE is NOT an unconditionalpromise to pay a sum certain ata predeterm ined time      .




The NOTE is a conditionalprom ise to pay a sum un-certain ata predeterm ined tim e, does

notcomportwith the Iegaldefinition ofa negotiable instrument'
                                                            ,and,

29.   The NOTE is nota security per-say untilafterthe Bank indorses the instrument,

Hwithoutrecourse''thereafterconverting itinto a Bank-Draftdoes itbecom e unegotiable'
                                                                                    '

provided the NOTE is an unconditionalprom ise to pay a sum certain ata predeterm ined

tim e,otherwise the NOTE becom es a non-negotiable instrument,and falls undercontract
Iaw'
   ,see U.C .C .9.

3O.   Petitioner's prom issory NOTE contains a pre-paymentpenalty'
                                                                 ,l
                                                                  ate-paym entpenalty'
                                                                                     ,
contains provision forthe property's sale ortransfer'
                                                    ,contains provision forthe Lenderto

exercise Notice ofAcceleration'
                              ,and contains provision of30 daysfora remedy'
                                                                          ,thus itcan
notbe said Petitioner's prom issory NOTE is a negotiable instrum ent.




31.   As forCOUNT XXXIIIofthe Com plaint.Petitionerbelieves and is inform ed Petitioner's
debtis employed,in part,to fund an InvestmentCom pany, Real-Estate-M ortgage-

Investment-conduit(UREM ICD),titled LEHMAN XS TRUST MORTGAGE PASS-THROUGH
CERTIFICATES,SERIES 20X -11,wherein Petitioneris an undisclosed third party

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 beneficiary by externality;as such CO UNT XXXIIIofthe Complaintsh
                                                                  ould stand.See
 Complaint(DE 1,paragraph 13, 95,% ,319,320, 333,419,420,424, 427,428,429,430
                                                                             ,

 432,433,543, 546,548,549,795, 887,and 888)

 32. AsforCO UNT IV and V ll, Fraud upon the Coud is why the LAW OFFICES O F DAVID

 J.STERN,P.A., etaI.,IosttheirIargestClients, Fannie Mae and Freddie M ac
                                                                                   ,   forcing LAW
 OFFICES O F DAVID J STERN,P.A.,to shutterits doors'
                                                   , as i
                                                        n thatforeclosure case,
                            .




 wherein there was a finding ofFraud upon the Coud thatcase was DISM ISSED w ith
                                                  ,


 preiudice,
          'see U.S.Bank.N .A.v.Ham ster(51-2007-CA-6684ES)(2010)
                                                                              .   ln fact,a trial
 courthas a duty and obligation to dism iss a cause ofaction based on fraud   .



 33.   Although Fraud upon the Courtm ay notbe recognized by the Stat
                                                                    e ofFlorida as a
 separate and distinctcause ofaction, this Courtfinding a Fraud upon the Courtwould result

 in JudicialEstoppel Fraud upon the Courtmay how everbe a m isnom er;designation should
                    .




really read a W rongfulForeclosure adion as itrelates to LAW O FFICES O F DAVID
J.STERN,P.A.,etaI       .




34.    This Courthas am ple authority to sanction Lawyers, Attorneys and Lenders asserting
im properand facially fraudulentforeclosure daims    .



35.    This Coud's authority to sanction crooked Attorneys is explicitin Florida law and
im plicitin the Couds'inherentpowerto sanction bad faith Iitigation .



36.    Any party seeking to foreclose a mortgage withouta good faith beliefin the facts

giving rise to the asseded claim may be sanctioned ''upon the court's initiative
                                                                            ':57.105(1),
                                                                                   ,

Fla.Stat.12.Thisstatute affordsjudges the authority to immediately impose significant
penalties forbringing unfounded Iitigation See M oakely v.Smallwood 826 So.2d 221,223
                                          .
                                                                   ,


(Fla.2002),citing United States SavingsBankv Pittman,80 Fla.423, 86 So.567,572
                                                 .




(1920)(sanctioning attorneyforacting in badfaith in a modgage foreclosure sale)          .




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   37.    Neithera Bank norits alleged S
                                          erviœ rcan Foreclose upon RealEstate Loans they do
                                                                              -


    NOT Own,norcan they prove they own th
                                             e Loan IfPetitioner, a non-Attorney can figure this
                                                     .


   outsurely a learned Attom ey would kno
                                           w neitherthe Bank norServicercan foreclose
                                                                                         unless
   itOwns the debt, oris acting as the Agentforthe Owner
                                                          . The Attorneys DAVID J STERN .

  and CASSANDRA RACINE-RIGAUD do kn
                                              ow orshould have known theirClient, AURO RA
  LOAN SERVICES LLC can notprove it
                                          ow ns Petitioner's debt, butDAV ID J.
                                                                                STERN and
  CASSANDRA RACINE-R IGAUD chose t
                                           o look the otherway and file knowingly fraud
                                                                                       ulent
  documents because the Y ds favorthe f
                                          oreclosure, and theirpay-check is based on
  perform ance.




 38. LAW O FFICES OF DAVID J STERN   .
                                              P.A.,DAVID J STERN and CASSANDRA
                                              ,                   .


 RACINE-RIGAUD knew theirClient's Claim a
                                              s presented to the Coud was notsupported by
 m aterialfacts,and thatthe materialfacts prese
                                                nted as found within the Complaintare not
 supported by existing Iaw , i.e.the CO RPO RATE ASSIG NM ENT OF M ORTGAGE
                                                                                 , whi
                                                                                     ch
 assigned the M ortgage Q ogetherw ith the note
                                                 y'
                                                  'is a known fraudulentfactum      .


 39. Petitionerdenies the Complaint(DE 1)isa qshot
                                                         gun Pleading''as described in
 Fed.R.CiV.P.8(a)(2).The Complaintclearlyarticulatesth
                                                          ataIlofthe actors are acting in
concertwith the otheractors and each is a co-
                                             conspirator,as this scheme would fail
otherwise;

40.    Petitioneris informed and believes allege thereon thatherein each Defendantis an
                                         ,

Agent,Servant, representative,or/and em ployee oftheirco      -
                                                                  Defendants,and in doing the
things herein alleged is ading in the capacity ofautho
                                                       rity as Agent, Servant,representative,
or/and em ployee, with the perm ission and consentoftheirco-
                                                                Defendants    .


41. Petitioneris informed and believes
                                          , al
                                             lege thereon thathere each Defendantassisted
                                                                                                ,
aided and abetted, adopted,rati
                              fied, approved,orcondoned the actions ofeach other

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  Defendant, and each Defendant Corporate orotherw ise
                                  ,
                                                                           ,   is ad ing as the alterego ofthe
  otherin the ads alleged herein;forexample      '
                                                 ,

  42. Opposing Counselis requesting the CourtDi
                                              sm iss the three Counts againsthis
  Clients,whichtookfiqeen (15)pagesto adiculate              .
                                                                 Petitionerhas a thirty-five (35)count
  Com plaint, which consists oftwo-hundred-and
                                                     thidy-three (233)pages.lfyou take 233
                                                     -



  pages divided by 35 Countswe find each ofPetitioner's
                                                                          counts consists ofsix-and-two-third
  (6.66)pages.Petitionerdoes notbelievethe Iength ofthe Com
                                                                                   plaintis atissue, only the
  contentIsubstance, which is as short simple,concise
                                      ,                               ,   clearand directas itcan be
 consideringthere isthirty-five (35)Countsin said Complaint,'altem atively,
 43.   FBd R.Ci
            .  V.P.9(b)requires Petitionerto pleadwith particularityallegati
                                                                            ons ofFraud,
 who,what,where, when,the participation ofeach party and theirrole in th
                                                                         e said Fraud
 showing how the Fraud orn lrred;which is in
                                             apposite to the FederalRule em bodying the
                                             -



 ''notice pleading''which require only a concise stat
                                                    ementofthe claim ,ratherthan evidentiary
 facts.Rule 9(b)hasbeen compliedwith asthe Complaintidentifiesthe Defendants who
 com m itted the Fraud'
                      , whatthe Fraud consisted of       ,   w hen the Fraud occurred, and who
 padicipated in the Fraud, done with padicularity'however,
                                                     ,

 44.   ln the eventthis Courtis ofthe opinion Petitionerdid
                                                                               notcom ply with eitherRule 8, or
Rule 9,the Courtshould permitPetitionerleave to Am
                                                                     end,pursuantto Haines v.Kerner,
404 U S 519 92 S.Ct.594, 30 L.Ed.2d 652 (1972).Seealso Plaskev v. CIA,953 F.2nd25$
      ** #
HCoud errs # coud dism isses pm se Iitigantwithouti
                                                  nstructions ofhow pleadings am
deficientand how to repairpleadings- ''

45.    Petitioner's Claim forreliefis NOT a Class- Action govem ed by Fed
                                                                                            .R.CiV.P.23,butis
a private Action com menced by a Citizen which willbenefitthe
                                                                                 com m unity as a whole;see
Judiciary Actof1789.
                   , see Ci
                          vilRights Actof 1866                   ,   14 Stat.27,(sometimesreferred to as
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     The Private Attorney GeneralAct)39th Congress
                                                    Sess 1,Ch31(1866),CHAP XXXL,
                                                                    ,                                                         .


     (Formally titled):An Actto protectaIlPeo ons in th
                                                                        e United States in theirCivilRights,
     and furnish the Means oftheirVindication
                                                           ,   April9,1866, Public Law 104-317 Oct19,
                                                                               .
                                                                                              ,
     1996,110 Stat3853'  , 93 stat1284'
                                      , Publ
                                           ic Law 96-170, 96th Congress Dec 9th 1979
                                                                           ,                                                           .

    46. The Private Attorney GeneralActpr
                                              ovides the Citizen with the rightto coljectnotonl
                                                                                              y
    reasonable Attorney fees butalso treble dam ages
                                                     , once Petitionerprevails in an action
    broughtin the public interest.



    47,    Petitionerhas expended atIeastthr
                                                        ee-thousand (3,œ 0)hours peryearforthe past
    three years on this foreclosure issue
                                              ,   isunable to worka normaljob becauseofthetime
    required to fightthe opposing party
                                      now has taken an offensive position to notonly ben
                                         ,
                                                                                        efit
    Petitionerbutthe comm unity as a whole          .




   46. HW hen plunderbecom es a -a# ofIif
                                              e fora group ofm en living togetherin
   society,they create forthem selves in the course oftim e
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                                                STERN and CASSANDRA RACINE
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   RIGAUD M OTIO N TO DISM ISS, in the alternative perm itPetitionerleave to Amend
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   Respectfully subm itted'
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                                                                                  Florida U .S.A .
                                                                              (561)393-0773
                                                                         kormanzool@ comcast.net
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                           C:RTIFICATE O F SERV ICE


  TH E UND ERSIG NED H ER EBY CERTIFIES th
  hasbeen forwarded,via e-m ailto the following; ata true and correctcopy ofhereof


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 StevenEllison/sellison@broadandcasselcom
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 LeonR.M argules/marguleslaw@ yalzoocom.




 on this15thday ofAugust, 2012.




                                                                      John Korm an
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